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            AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      I, Joshua Burgos-Soto, employed as a Special Agent with the Bureau of

Alcohol, Tobacco, Firearms and Explosives (ATF), United States Department of

Justice, having been duly sworn, do hereby depose and state as follows:

                             AGENT BACKGOUND
   1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

      Explosive (ATF) and have been so employed since August of 2019. I am a
      graduate of the Federal Law Enforcement Training Center and the ATF

      National Academy in Glynco, GA. Prior to my employment with ATF, I was

      an Assistant Compliance Officer in the Bank Secrecy Act (BSA)/Anti-Money

      Laundering (AML) division with an international financial institution named
      Active International Bank. Prior to my employment at Active International

      Bank, I held the same title with a publicly traded financial institution named

      Popular Community Bank for a combined approximate time of five (5) years

      with both employments. I conducted fmancial crime investigations related to

      money laundering, terrorist finance, as well as economic and trade sanctions

      violations in order to adhere regulatory enforcement from United States

      Department of the Treasury agencies such as The Financial Crimes

      Enforcement Network (FinCEN) and from the Office of Foreign Assets Control
      (OFAC). I have a Bachelor's degree in Crhninal Justice from the University of

      Puerto Rico and a Master's degree in Business Administration from University

      of Phoerdx.



   2. In addition, I have had conversations and worked alongside other experienced

      local, state and federal law enforcement officers, as well as state and federal

      prosecuting attorneys concerning violations of firearms and narcotics laws.
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3. Through training, investigations and experience, I have taken part in cases

   relating to the trafficking of firearms, the use and possession of firearms by

   persons prohibited by law, and the possession of illegal firearms.

4. The information set forth herein is based on my personal knowledge,

   information obtained through interviews, information provided to me by other

   law enforcement officers and through other various forms of information. This

   affidavit is offered for the limited purpose of establishing probable cause that
   Edgar CANTRES-SANJURJO ("CANTRES-SANJURJO") violated 18

   U.S.C. §§ 922(g)(l) Knowing Possession of a firearm by a prohibited person and
   21 U.S.C. §§ 841(b)(l)(C) Possession with intent to distribute a mixture of
   substance containing a detectable amount of cocaine .

5. Therefore, I have not recited every fact known to me as a result of this

   investigation.

6. I am familiar with the information contained in this Affidavit, either through

   personal investigation or through discussions with other law enforcement

   officers who obtained information through investigation and surveillance,

   which they in turn reported to me.

                FACTS THAT ESTABLISH PROBABLE CAUSE


7. PRPB agents initiated a suryeillance at street Mexico in La Dolores, Rio

   Grande, Puerto Rico on February 27, 2024. According to the agent conducting

   the surveillance, he observed an individual with the use of binoculars selling

   narcotics in front of a residence.

8. According to PRPB agent, he observed a hand-to-hand transaction in which the

   individual later identified as Edgar CANTRES-SANJURJO received what the
   agent described as "cash" from an individual who arrived in a vehicle.

   CANTRES-SANJURJO after receiving the cash, walked inside of the
   residence, walked out and handed the person in the vehicle what PRPB agent

   suspected were haggles containing suspected cocaine.
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9. The individual later observed a second hand to hand transaction in which

   CANTRES-SANJURJO received what the agent described as "cash" from an

   individual who arrived on a bicycle and CANTRES-SANJURJO proceeded to
  walked inside of the residence. When CANTRES-SANJURJO came out of the
   residence, PRPB agent described CANTRES-SANJURJO walked across the
   road to a vehicle described as a gold-colored Mazda with license plate ETT-188.

  As per PRPB agent, CANTRES-SANJURJO opened the vehicle and took out
   a bag with multiple haggles of what PRPB agent suspected were baggies
   containing suspected cocaine. CANTRES-SANJURJO took out some haggles

   of suspected cocaine and handed them to the individual on the bicycle who took

   off.

10. On February 28, 2024, PRPB agent was granted a state search warrant for the

   vehicle and the residence related to the surveillance.

11. On February 29, 2024, at approximately 5:00am PRPB (Puerto Rico Police

   Bureau) agents executed a State search warrant on a residence located at street

   Mexico, 329, La Dolores, Rio Grande, Puerto Rico.

12. According to PRPB agents the only person inside of the residence during the

   execution of this search warrant was CANTRES-SANJURJO. From the inside

   of the dwelling PRPB agent seized the following under a mattress in a room

   inside the dwelling:


          a. M&P Smith and Wesson, Caliber .40, Serial Number: HWW975 (loaded

             with thirteen rounds of caliber .40 ammunition)

      b. One (1) high-capacity magazine containing thirty (30) rounds of caliber
             .40 ammunition.

          c. One (1) high-capacity magazine containing twenty-nine (29) rounds of

             caliber .40 ammunition.

          d. Dmg paraphernalia
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13. At approximately 6:00am, PRPB agents executed state search warrant for the

   vehicle described as gold-colored Mazda with license plate ETT-188. This was

   vehicle across the street from CANTRES-SANJURJO'S residence. PRPB

   agents had observed CANTRES-SANJURJO retrieve from the vehicle bags
   containing multiple haggles of suspected cocaine which he sold to an Individual

   during the surveillance that led to the aforementioned search warrant. After

   conducting the search PRPB agents found the following:

      a. Three hundred and forty (340) haggles containmg suspected cocaine.

14. PRPB agent field test of the narcotics resulted positive for cocaine.

15. CANTRES-SANJURJO was arrested and read his Miranda rights according to

   PRPB agents. PRPB agents contacted ATF and requested their assistance with

   this investigation.

16. On February 29, 2024, ATF interviewed CANTRES-SANJURJO. Prior to

   reading CANTRES-SANJURJO his Miranda rights, CANTRES-SANJURJO
   stated without prompting that the frrearm found under a mattress in his

   residence was not his and he did not know it was there. CANTRES-

   SANJURJO also stated he goes by the name of 'Tito Morci". ATF agent read

   CANTRES-SANJURJO his Miranda rights and CANTRES-SANJURJO

   stated he was wiUing to speak to ATF agents with his lawyer present.

17. ATF personnel contacted CANTRES-SANJURJO lawyer who arrived at the

   Fajardo narcotics unit precinct where CANTRES-SANJURJO was. With
   CANTRES-SANJURJO lawyer present, he expressed to ATF agents the

   firearm found in his residence was not his.

18. Further investigation and records checks confirmed that Edgar CANTRES-

   SANJURJO was previously convicted of a felony punishable by more than one

   year of imprisonment.

19. In addition no firearms or ammunition of the make found in CANTRES-

   SANJURJO are manufactured in Puerto Rico so they must have travelled in

   the interstate and foreign commerce
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 20. Based on the above facts, I have probable cause to believe that Edgar

    CANTRES-SANJURJO has violated federal firearm and controlled substance

     laws. Specifically violated 18 U.S.C. §§ 922(g)(l) Knowing Possession of a

     firearm by a prohibited person and 21 U.S.C. §§ 841(b)(l)(C) Possession with
    intent to distribute a mixture of substance containing a detectable amount of

    cocaine .




           Respectfully submitted, ^ ^



                                     Joshua Burgos Soto

                                     Special Agent

                                      Bureau of Alcohol, Tobacco,

                                      Firearms and Explosives

                iwom by telephone pursuant to the requirements of Fed. R. Crim. P. 4.1

,, at/^09p .m. on March 1,2024.
                                         '^^L.^

                                        HON. MARCOS E. LOPEZ
                                       UNITED STATES MAGISTRATE JUDGE
                                       DISTRICT OF PUERTO RICO
